Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 1 of 32      PageID 213



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION



                                        )
                                        (
 JOHN L. BULLOCK,                       (
                                        )
                                        )
                                        (
             Plaintiff,                 (
                                        )
                                        )
                                        (
 vs.                                    (
                                        )       No. 10-2482-SHM-cgc
                                        )
                                        (
 WORLD SAVINGS BANK, FSB,               (
                                        )
 et al.,                                (
                                        )
                                        )
                                        (
             Defendants.                (
                                        )
                                        )
                                        (



              ORDER GRANTING THE MOTION TO DISMISS FILED BY
                   DEFENDANTS WSB, WACHOVIA, AND REEDER
                  ORDER DISMISSING THE COMPLAINT AGAINST
                        DEFENDANTS JOHNSON AND PALO
                             ORDER OF DISMISSAL
             ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
                                     AND
       ORDER DENYING LEAVE TO PROCEED IN FORMA PAUPERIS ON APPEAL



             On May 19, 2010, Plaintiff John L. Bullock, a resident of

 Memphis, Tennessee, filed a pro se Petition for Action to Quiet

 Title in the Chancery Court for the Thirtieth Judicial District at

 Memphis against World Savings Bank, FSB (“WSB”); Wachovia Mortgage

 (“Wachovia”); Mary C. Reeder, a Senior Vice President at Wachovia

 Mortgage (“Reeder”); the City of Memphis; Pamela Pope Johnson; and

 Melissa Palo. (Docket Entry (“D.E.”) 1-1.) On June 24, 2010,

 Defendants WSB, Wachovia, and Reeder removed the case to federal

 court pursuant to 28 U.S.C. § 1441. (D.E. 1.)1

       1
             Defendants Johnson and Palo have not been served. In an order entered
 on October 29, 2010, the Court dismissed the action against the City of Memphis.
                                                                   (continued...)
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 2 of 32   PageID 214



              On July 12, 2010, Defendants WSB, Wachovia, and Reeder

 filed a motion to dismiss the complaint pursuant to Fed. R. Civ. P.

 12(b)(6). (D.E. 8.) On August 3, 2010, Plaintiff filed a document,

 titled “Motion To Strike Dismissal of World Savings Bank, FSB,

 Wachovia Mortgage, FSB, Sr. Vice President Mary C. Reeder” (D.E.

 10), that appeared to be a response to the motion to dismiss. The

 certificate of service for this document stated as follows:

       I, the Plaintiff, John L. Bullock, do hereby certify that
       on this 3rd day of August, 2010, a copy of the foregoing
       Motion to Strike Dismissal of World Savings Bank, FSB,
       Wachovia Mortgage, FSB, Senior Vice President Mary C
       Reeder, was electronically filed using the CM/ECF system
       and served on the following via Registered U.S. Mail:

       World Savings Bank, FSB, 4101 Wiseman Boulevard, San
       Antonio, TX 78251, To Wachovia Mortgage, FSB located at
       4101 Wiseman Boulevard, San Antonio, TX 78251 and THE
       CITY OF MEMPHIS and their Agents Linebarger Goggan Blair
       & Sampson, LLP, One Commerce Square, 40 South Main
       Street, Suite 2250, Memphis, Tennessee 38103, C/O Pamela
       Pope Johnson and Melissa Palo.

 (Id. at 6.) The Court issued an order on December 10, 2010, that,

 inter alia, struck Plaintiff’s Motion to Strike from the record

 because a copy had not been served on counsel for Defendants WSB,

 Wachovia, and Reeder and extended Plaintiff’s time to respond to

 the motion to dismiss by fifteen (15) days. (D.E. 15.) Plaintiff

 has not filed a response to the motion to dismiss, and the time for

 a response has expired. The Court will, therefore, address the

 merits of the motion.2


       1
              (...continued)
 (D.E. 14.)
       2
            The December 15, 2010, order did not tell Plaintiff that the action
 would be dismissed if he failed to respond to the motion to dismiss and,
                                                                 (continued...)

                                       2
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 3 of 32      PageID 215



              Plaintiff’s complaint alleges that he owns real property

 in Memphis, Tennessee, that is encumbered by mortgages, having a

 term of thirty (30) years, in the amounts of $78,750 and $15,750.

 (D.E. 1-1 at 1.) Plaintiff allegedly obtained those mortgages from

 Defendant WSB. (Id. at 2.)3 Plaintiff apparently purchased the

 property, by Warranty Deed, on or about July 24, 2001. (Compl., Ex.

 C (D.E. 1-1 at 40-41).) By letter dated October 5, 2009, Defendant

 Wachovia notified Plaintiff that it had “resumed ownership of your

 mortgage and is therefore considered a ‘new owner.’ Wachovia

 continues to be the servicer of the mortgage.” (Compl., Ex. D (D.E.

 1-1 at 42).) By letter dated October 14, 2009, Defendant Reeder

 notified Plaintiff that, subject to regulatory approval, Wachovia

 would merge with Wells Fargo Bank, N.A. effective November 1, 2009.

 (Compl., Ex. E (D.E. 1-1 at 43).) Defendants are apparently

 attempting to foreclose on Plaintiff’s real property. (See id. at

 6-7.)

              The complaint does not assert any clearly identified

 claims. Instead, it poses the following question:

         Does the original negotiable instrument Exhibit A and B,
         a breached commercial mortgage contract, governed by the
         federal laws and the uniform laws of all the states
         including the District of Columbia, become voidable if
         such original negotiable instrument Exhibit A and B (30
         year mortgage transaction), is in contravention to the


       2
             (...continued)
 therefore, the Court declines to dismiss the complaint against the moving
 defendants pursuant to Fed. R. Civ. P. 41(b).
       3
             A copy of a Deed of Trust for the $78,750 mortgage, dated on or about
 Apr. 25, 2007, is found at Ex. A to the complaint. (D.E. 1-1 at 14-29.) A copy
 of portions of an Open End Deed of Trust for an Equity Line of Credit in the
 amount of $15,750 is found at Ex. B to the complaint. (Id. at 30-58.)

                                        3
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 4 of 32   PageID 216



       rules of law under which it is governed? (The Statutes at
       Large, Treaties, and Proclamations of the United States
       of America (from December 1863-December 1865), Volume 13,
       38th Congress, Session I, Chapters 104, 106, & 107, Pages
       99-118.)

 (D.E. 1-1 at 2.) The complaint also cites

       15 United States Code (U.S.C. Chapter 41, Subchapter V §
       1692(e), (f) & (g), 18 U.S.C. Part I, Chapter 63 § 1344,
       18 U.S.C. Part I, Chapter 96 § 1961, 18 U.S.C. Part I,
       Chapter 96 § 1982(a) and (b), Article 3 U.C.C. § 3-
       305(a)1; Tennessee Code Annotated (T.C.A.) Title 28
       Chapter 14 § 110; T.C.A. Title 29 Chapter 14 § 103;
       T.C.A. Title 47 Chapter 3 §306(a)1; T.C.A. Title 47
       Chapter 18 § 104(a)(b)12[.]
 (Id. at 6.)

            The complaint appears to argue that mortgages with terms

 longer than five years are illegal. (Id. at 2-3, 5, 6-7, 8.) The

 complaint alleges fraud and breach of contract because Plaintiff

 allegedly did not receive “a proper copy of the security instrument

 and notes” but, instead, received “a copy instead of a conformed

 copy.” (Id. at 4; see also id. at 5-6, 8.) Plaintiff seeks to

 inspect the original conformed copies of the notes (id. at 8) and

 an order removing any and all clouds on his title (id. at 9).

            The standard for assessing a Rule 12(b)(6) motion is as

 follows:

            Federal Rule of Civil Procedure 8(a)(2) requires
       only “a short and plain statement of the claim showing
       that the pleader is entitled to relief,” in order to
       “give the defendant fair notice of what the . . . claim
       is and the grounds upon which it rests,” Conley v.
       Gibson, 355 U.S. 41, 47 . . . (1957). While a complaint
       attacked by a Rule 12(b)(6) motion to dismiss does not
       need detailed factual allegations, ibid.; Sanjuan v.
       American Bd. of Psychiatry and Neurology, Inc., 40 F.3d
       247, 251 (C.A. 7 1994), a plaintiff’s obligation to
       provide the “grounds” of his “entitle[ment] to relief”
       requires more than labels and conclusions, and a

                                      4
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 5 of 32   PageID 217



       formulaic recitation of the elements of a cause of action
       will not do, see Papasan v. Allain, 478 U.S. 265, 286 .
       . . (1986) (on a motion to dismiss, courts “are not bound
       to accept as true a legal conclusion couched as a factual
       allegation”). Factual allegations must be enough to raise
       a right to relief above the speculative level, see 5 C.
       Wright & A. Miller, Federal Practice and Procedure §
       1216, pp. 235-236 (3d ed. 2004) (hereinafter Wright &
       Miller) (“[T]he pleading must contain something more . .
       . than . . . a statement of facts that merely creates a
       suspicion [of] a legally cognizable right of action”), on
       the assumption that all the allegations in the complaint
       are true (even if doubtful in fact), see, e.g.,
       Swierkiewicz v. Sorema N. A., 534 U.S. 506, 508, n. 1, .
       . . (2002); Neitzke v. Williams, 490 U.S. 319, 327 . . .
       (1989) (“Rule 12(b)(6) does not countenance . . .
       dismissals based on a judge’s disbelief of a complaint’s
       factual allegations”); Scheuer v. Rhodes, 416 U.S. 232,
       236 . . . (1974) (a well-pleaded complaint may proceed
       even if it appears “that a recovery is very remote and
       unlikely”).

 Bell Atl. Corp. v. Twombly, 550 U.S. 554, 555-56 (2007) (footnote

 omitted). The Supreme Court explained that the notice pleading

 rules do not eliminate a plaintiff’s obligation to set forth some

 factual basis for his claims:

       While, for most types of cases, the Federal Rules [of
       Civil Procedure] eliminated the cumbersome requirement
       that a claimant “set out in detail the facts upon which
       he bases his claim,” Conley v. Gibson, 355 U.S. 41, 47 .
       . . (1957) (emphasis added), Rule 8(a)(2) still requires
       a “showing,” rather than a blanket assertion, of
       entitlement to relief. Without some factual allegation in
       the complaint, it is hard to see how a claimant could
       satisfy the requirement of providing not only the “fair
       notice” of the nature of the claim, but also “grounds” on
       which the claim rests. See 5 Wright & Miller § 1202, at
       94, 95 (Rule 8(a) “contemplate[s] the statement of
       circumstances, occurrences, and events in support of the
       claim presented” and does not authorize a pleader’s “bare
       averment that he wants relief and is entitled to it”).

 Id. at 556 n.3.

            Twombly was an antitrust case and, after that decision,
 some courts assumed that the requirement that a litigant plead the

                                      5
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 6 of 32        PageID 218



 factual basis for his claims was applicable primarily to complex

 litigation.4 However, the Supreme Court has extended the principles

 stated in Twombly to a civil rights claim under Bivens v. Six

 Unknown Fed. Narcotics Agents, 403 U.S. 388 (1974). In Ashcroft v.

 Iqbal, 129 S. Ct. 1937 (2009), the Court stated that

       a court considering a motion to dismiss can choose to
       begin by identifying pleadings that, because they are no
       more than conclusions, are not entitled to the assumption
       of truth. While legal conclusions can provide the
       framework of a complaint, they must be supported by
       factual allegations. When there are well-pleaded factual
       allegations, a court should assume their veracity and
       then determine whether they plausibly give rise to an
       entitlement to relief.

 Id. at 1950. Applying those standards, the Supreme Court held that

 the   plaintiffs     had   not   adequately     alleged    that    the    moving

 defendants had purposely discriminated against them on the basis of

 their religion. Id. at 1950-52.




       4
              See, e.g., United States v. Ford Motor Co., 532 F.3d 496, 503 n.6
 (6th Cir. 2008); Sensations, Inc. v. City of Grand Rapids, 526 F.3d 291, 295-96,
 296 n.1 (6th Cir. 2008). In so holding, the Sixth Circuit was attempting to
 reconcile Twombly with Erickson v. Pardus, 551 U.S. 89 (2007) (per curiam), which
 was decided two weeks after Twombly. In Erickson, the Supreme Court vacated the
 dismissal of a lawsuit brought by a prisoner suffering from hepatitis C who
 alleged that he had received inadequate medical treatment when he was terminated
 from a treatment program. The district court dismissed the complaint for failure
 to state a claim, and the Tenth Circuit Court of Appeals affirmed, holding that
 the prisoner’s allegations of injury were conclusory. The Supreme Court observed
 that this “holding departs in so stark a manner from the pleading standard
 mandated by the Federal Rules of Civil Procedure that we grant review.” 551 U.S.
 at 90. The prisoner had alleged that he had hepatitis C, that he met the prison’s
 standards for treatment of the disease, and that the disease can cause
 irreversible damage to his liver and even death. Id. at 91-92; see also id. at
 94. In holding that the prisoner’s allegations of harm were sufficient to satisfy
 Rule 8(a)(2), the Supreme Court emphasized the liberal pleading standard of Fed.
 R. Civ. P. 8(a)(2) and the plaintiff’s pro se status. Id. at 93-94. The Supreme
 Court also noted that it was not deciding that the prisoner’s case was sufficient
 in all respects to survive a motion to dismiss but, rather, only that the
 allegations of injury were sufficient to satisfy Rule 8(a)(2). Id. at 93, 94.

                                        6
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 7 of 32        PageID 219



              Pro se litigants are not exempt from the requirements of

 the Federal Rules of Civil Procedure. As the Sixth Circuit has

 explained:

            Before the recent onslaught of pro se prisoner
       suits, the Supreme Court suggested that pro se complaints
       are to be held to a less stringent standard than formal
       pleadings drafted by lawyers. See Haines v. Kerner, 404
       U.S. 519 . . . (1972) (per curiam). Neither that Court
       nor other courts, however, have been willing to abrogate
       basic pleading essentials in pro se suits. See, e.g., id.
       at 521 . . . (holding petitioner to standards of Conley
       v. Gibson); Merritt v. Faulkner, 697 F.2d 761 (7th Cir.)
       (duty to be less stringent with pro se complaint does not
       require court to conjure up unplead allegations), cert.
       denied, 464 U.S. 986 . . . (1983); McDonald v. Hall, 610
       F.2d 16 (1st Cir.1979) (same); Jarrell v. Tisch, 656 F.
       Supp. 237 (D.D.C. 1987) (pro se plaintiffs should plead
       with requisite specificity so as to give defendants
       notice); Holsey v. Collins, 90 F.R.D. 122 (D. Md. 1981)
       (even pro se litigants must meet some minimum standards).

 Wells v. Brown, 891 F.2d 591, 594 (6th Cir. 1989); see also Lindsay

 v. Owens Loan, No. 08-CV-12526, 2008 WL 2795944, at *1 (E.D. Mich.

 July 18, 2008) (“While pro se litigants should not be held to the

 same stringent standard as licensed attorneys who draft pleadings

 . . . , it is also not the role of the court to speculate about the

 nature   of    the   claims        asserted.”);    Reeves      v.   Ratliff,     No.

 Civ.A.05CV112-HRW, 2005 WL 1719970, at *2 (E.D. Ky. July 21, 2005)

 (“Judges are not required to construct a [pro se] party’s legal

 arguments for him.”); United States v. Kraljevich, No. 02-40316,

 2004 WL 1192442, at *3 (E.D. Mich. Apr. 15, 2004); Payne v.

 Secretary     of   Treas.,    73    F.   App’x    836,   837   (6th   Cir.     2003)

 (affirming sua sponte dismissal of complaint pursuant to Fed. R.

 Civ. P. 8(a)(2); “Neither this court nor the district court is

 required to create Payne’s claim for her.”); cf. Pliler v. Ford,

                                           7
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 8 of 32   PageID 220



 542 U.S. 225, 231 (2004) (“District judges have no obligation to

 act as counsel or paralegal to pro se litigants.”).

            Defendants first argue that the complaint does not assert

 a viable claim under the National Bank Act, 12 U.S.C. § 29. (D.E.

 8-1 at 4-5.) Other courts in this district have dismissed claims

 sua sponte that purported to seek relief under the original version

 of the National Bank Act. In Sherman v. Saxon Mortgage Servs.,

 Inc., No. 10-2282-STA-tmp, 2010 WL 2465459 (W.D. Tenn. June 14,

 2010), the Court stated as follows:

            Much of the complaint consists of a list of cases .
       . . , and what purports to be a lengthy summary of the
       provisions of the “National Bank/Currency Act,” as
       enacted by the Thirty-eighth Congress . . . . The 38th
       Congress sat from March 4, 1863, to March 4, 1865.
       Plaintiffs are presumably referring to the National Bank
       Act of 1864, 13 Stat. 99, which provided, inter alia, for
       the federal chartering of national banks. Plaintiffs may
       also be referring to the National Currency Act of 1863,
       12 Stat. 665.

            The complaint cites provisions from the National
       Bank Act of 1964, taken from Statutes at Large, that
       prohibit national banking associations from holding real
       estate, either directly or under mortgage . . . ; and
       that limit the total amount of bank notes in circulation
       to $300 million . . . ; and they argue that “FEDERAL
       RESERVE NOTES ARE NOT MONEY BY LAW” . . . . Plaintiffs
       also contend that “Banks and Financial Institutions
       cannot enter into mortgage agreements beyond a 5 year
       period” . . . and that their 30-year mortgage “by
       operation of law is fraud in the factum” . . . .
       Plaintiffs also assert that the Statutes at Large
       “hold[s] lawful and legal precedence over [the] United
       States Code.” . . . . This statement, which implicitly
       relies on 1 U.S.C. § 204(a), means only that the Statutes
       at Large controls when there is an issue whether the U.S.
       Code accurately sets forth the law as passed by Congress.
       Nothing in that provision, or in the decisions cited in
       the complaint, authorizes a federal court to ignore the
       numerous amendments to the federal banking laws in the
       past one hundred forty-five (145) years. Thus,
       Plaintiffs’ vague references to the National Bank Act of

                                      8
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 9 of 32   PageID 221



       1864, which is currently codified, as amended, in Title
       12 of the United States Code, are insufficient to give
       fair notice of their claims under that statute. See
       Conley v. Gibson, 355 U.S. 41, 47, 78 S. Ct. 99, 2 L. Ed.
       2d 80 (1955).

 Id. at *3 (record citations omitted); see also Applewhite v. Sun

 Trust Bank Inc., No. 10-2240-JPM-dkv, slip op. at 5-7 (W.D. Tenn.

 May 26, 2010); McCarley v. Nation Star Mortgage, No. 10-2182-JPM-

 cgc, slip op. at 7-8 (W.D. Tenn. Apr. 15, 2010); Jones v. Midland

 Mortgage Co., No. 09-2732-JDT-dkv, slip op. at 2-3, 4, 6-7 (W.D.

 Tenn. Feb. 3, 2010); Williams v. Stumpf, No. 09-2814-JDT-dkv, slip

 op. at 2, 5-6 (W.D. Tenn. Jan 22, 2010).

            The current version of the statute on which Plaintiff

 relies is found at 12 U.S.C. § 29, which provides as follows:

            A national banking association may purchase, hold,
       and convey real estate for the following purposes, and
       for no others:

            First. Such as shall be necessary for its
            accommodation in the transaction of its business.

            Second. Such as shall be mortgaged to it in good
            faith by way of security for debts previously
            contracted.

            Third. Such as shall be conveyed to it in
            satisfaction of debts previously contracted in the
            course of its dealings.

            Fourth. Such as it shall purchase at sales under
            judgments, decrees, or mortgages held by the
            association, or shall purchase to secure debts due
            to it.

            But no such association shall hold the possession of
       any real estate under mortgage, or the title and
       possession of any real estate purchased to secure any
       debts due to it, for a longer period than five years
       except as otherwise provided in this section.



                                      9
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 10 of 32   PageID 222



            For real estate in the possession of a national
       banking association upon application by the association,
       the Comptroller of the Currency may approve the
       possession of any such real estate by such association
       for a period longer than five years, but not to exceed an
       additional five years, if (1) the association has made a
       good faith attempt to dispose of the real estate within
       the five-year period, or (2) disposal within the five-
       year period would be detrimental to the association. Upon
       notification by the association to the Comptroller of the
       Currency that such conditions exist that require the
       expenditure of funds for the development and improvement
       of such real estate, and subject to such conditions and
       limitations as the Comptroller of the Currency shall
       prescribe, the association may expend such funds as are
       needed to enable such association to recover its total
       investment.
            Notwithstanding the five-year holding limitation of
       this section or any other provision of title 62 of the
       Revised Statutes, any national banking association which
       on October 15, 1982, held, directly or indirectly, real
       estate, including any subsurface rights or interests
       therein, that since December 31, 1979, had not been
       valued on the books of such association for more than a
       nominal amount, may continue to hold such real estate,
       rights, or interests for such longer period of time as
       would be permitted a State chartered bank by the law of
       the State in which the association is located if the
       aggregate amount of earnings from such real estate,
       rights, or interests is separately disclosed in the
       annual financial statements of the association.

 The complaint does not allege that any defendant is a national

 banking association subject to this provision.

              There is no private right of action under 12 U.S.C. § 29,

 and Plaintiff cannot avoid foreclosure on his property by alleging

 a violation of the National Bank Act. As another district court has

 explained:

            None of these statutes provide borrowers with a
       private right of action against banks for violations of
       the statute nor should one be implied. Provisions of the
       National Bank Act, such as Sections 29 and 83, which do
       not prescribe a penalty for noncompliance may be enforced
       only by the government. Thompson v. St. Nicholas Nat’l

                                      10
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 11 of 32   PageID 223



       Bank, 146 U.S. 240, 251, 13 S. Ct. 66, 36 L. Ed. 956
       (1892) (“it has been held repeatedly by this court that
       where the provisions of the national banking act prohibit
       certain acts by banks or their officers, without imposing
       any penalty or forfeiture applicable to particular
       transactions which have been executed, their validity can
       be questioned only by the United States, and not by
       private parties”); see Kerfoot v. Farmers’ & Merchants’
       Bank, 218 U.S. 281, 287, 31 S. Ct. 14, 54 L. Ed. 1042
       (1910) (only the government can object to a violation of
       a prior version of Section 29); First Nat’l Bank v.
       Stewart, 107 U.S. 676, 678, 2 S. Ct. 778, 27 L. Ed. 592
       (1883) (only the government can object to a violation of
       prior version of Section 83); see also Federal Deposit
       Ins. Corp. v. Meo, 505 F.2d 790, 793 n.2 (9th Cir. 1974);
       Noel Estate, Inc. v. Commercial Nat’l Bank in Shreveport,
       232 F.2d 483, 485 (5th Cir. 1956); Barron v. McKinnon,
       196 F. 933, 939 (1st Cir. 1912). Indeed, the Supreme
       Court has specifically held that borrowers cannot avoid
       foreclosure based upon an allegation that the loan for
       which their property was pledged as security violated the
       National Bank Act. Union Nat’l Bank v. Matthews, 98 U.S.
       621, 627-29, 25 L. Ed. 188 (1878).

 Davis v. Countywide Home Loans, No. 09 Civ. 8606(RJS)(HBP), 2010 WL

 3219306, at *8 (S.D.N.Y. July 23, 2010) (report and recommendation)

 (footnote omitted), adopted, 2010 WL 3219304 (S.D.N.Y. Aug. 13,

 2010).

             Plaintiff’s argument that mortgages having a term longer

 than five years are illegal is without merit as a matter of law:

       12 U.S.C. § 371 expressly authorizes national banks to
       engage in real estate lending, and provides, in relevant
       part: “Any national banking association may make,
       arrange, purchase or sell loans or extensions of credit
       secured by liens on interests in real estate, subject to
       section 1828o of the title and such restrictions and
       requirements as the Comptroller of the Currency may
       prescribe by regulation or order.” 12 U.S.C. § 371(a).
       Section 1828o does not contain a time limitation. While
       12 U.S.C. § 29 does prohibit a national banking
       association from holding “the possession of any real
       estate under mortgage, or the title and possession of any
       real estate purchased to secure any debts due to it, for
       a period longer than five years,” this provision is
       inapplicable to plaintiff’s Complaint because plaintiff

                                      11
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 12 of 32   PageID 224



       does not allege, nor does it appear from the record, that
       any defendant ever possessed the property that is
       referenced in the note and in plaintiff’s complaint.

 Barnes v. Wells Fargo & Co., No. 4:10CV619 FRB, 2010 WL 3911405, at

 *4 (E.D. Mo. Sept. 30, 2008); see also Barnes v. Citigroup, Inc.,

 No. 4:10CV620 JCH, 2010 WL 2557508, at *3 (E.D. Mo. June 15, 2010)

 (12 U.S.C. § 29 “inapplicable, as Defendants do not possess

 Plaintiff’s home”). “[T]hirty-year mortgages are common in the

 lending industry.” Wilson v. Bank of Am. Corp., No. 4:10-CV-512

 CAS, 2010 WL 3843781, at *4 (E.D. Mo. Sept. 27, 2010); see also

 Barnes, 2010 WL 2557508, at *3 (“[N]ational banks are permitted to

 ‘make, arrange, purchase or sell loans or extensions of credit

 secured by liens on interests in real estate,’ and thirty-year

 mortgages are common in the lending industry.”).

             For the foregoing reasons, the Court GRANTS Defendants’

 motion to dismiss the claim for violation of the National Bank Act.

             Defendants have also moved to dismiss any claim under the

 Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §§ 1692 et

 seq. (D.E. 8-1 at 5-6.) Congress enacted the FDCPA to eliminate

 “abusive, deceptive, and unfair debt collection practices” by “debt

 collectors.” 15 U.S.C. § 1692(a); see also Miller v. Javitch, Block

 & Rathbone, 561 F.3d 588, 591 (6th Cir. 2009) (citing 15 U.S.C. §

 1692(e)). A “debt collector” is defined as “any person who uses any

 instrumentality of interstate commerce or the mails in any business

 the principal purpose of which is the collection of any debts, or

 who   regularly    collects   or   attempts   to   collect,   directly    or

 indirectly, debts owed or due or asserted to be owed or due

                                      12
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 13 of 32   PageID 225



 another.” 15 U.S.C. § 1692a(6). “Creditors who use names other than

 their own—such as a third-party name—to collect on their own debts

 also qualify as debt collectors under the Act.” Montgomery v.

 Huntington Bank, 346 F.3d 693 (6th Cir. 2003) (citing 15 U.S.C. §

 1692a(6)). The Act defines a “creditor” as “any person who offers

 or extends credit creating a debt or to whom a debt is owed, but

 such term does not include any person to the extent that he

 receives an assignment or transfer of a debt in default solely for

 the purpose of facilitating collection of such debt for another.”

 15 U.S.C. § 1692a(4).

              The complaint does not allege that any of the named

 defendants    are   “debt   collectors.”     Instead,    it   alleges    that

 Plaintiff obtained a loan from Defendant WSB, and the loan was

 subsequently transferred to Defendant Wachovia. Thus, WSB is a

 “creditor” within the meaning of the Act.5 “A bank that is ‘a

 creditor is not a debt collector for the purposes of the FDCPA and

 creditors are not subject to the FDCPA when collecting their

 accounts.’” Montgomery, 346 F.3d at 699 (quoting Stafford v. Cross
 Country Bank, 262 F. Supp. 2d 776, 794 (W.D. Ky. 2003)) (additional

 citations omitted); see also Perry v. Stewart Title Co., 756 F.2d

 1197, 1208 (5th Cir. 1985) (“The legislative history of section

 1692a(6) indicates conclusively that a debt collector does not

 include the consumer’s creditors.”). Because the complaint does not

 allege that the loans were in default when they were transferred to

       5
             Defendant Reeder is not alleged to be a “debt collector” or a
 “creditor” and, therefore, the basis for any claim against her under the FDCPA
 is unclear.

                                      13
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 14 of 32   PageID 226



 Wachovia or that the transfer was made “solely for the purpose of

 facilitating collection of such debt for another,” Wachovia is also

 a “creditor.” Even if one or more defendants were “debt collectors”

 subject to the FDCPA, the complaint does not allege a violation of

 that statute.

             The Court GRANTS Defendants’ motion to dismiss any FDCPA

 claim by Plaintiff claim pursuant to Fed. R. Civ. P. 12(b)(6).

             Next, Defendants argue that Plaintiff has no private

 right of action under 18 U.S.C. § 1344, a federal criminal statute
 that prohibits bank fraud. (D.E. 8-1 at 6-7.) The statute provides

 as follows:

            Whoever knowingly executes, or attempts to execute,
       a scheme or artifice—

             (1) to defraud a financial institution; or

            (2) to obtain any of the moneys, funds, credits,
       assets, securities, or other property owned by, or under
       the custody or control of, a financial institution, by
       means of false or fraudulent pretenses, representations,
       or promises;

       shall be fined not more than $1,000,000 or imprisoned not
       more than 30 years, or both.

 The statute is, on its face, inapplicable because the complaint

 does not allege that any defendant executed a scheme or artifice to

 defraud a financial institution or to obtain property owned by, or

 under the custody or control of, a financial institution. Instead,

 the complaint asserts that the defendant financial institutions

 attempted to defraud Plaintiff. Any such conduct would not violate

 18 U.S.C. § 1344. Thornton v. Rozen Constr., No. 1:10-CV-73, 2010
 WL 882824, at *2 n.1 (W.D. Mich. Mar. 8, 2010) (“[S]ection 1344

                                      14
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 15 of 32   PageID 227



 criminalizes fraud committed against a bank. Plaintiff’s complaint,

 to the extent that it is intelligible, appears to allege that the

 bank committed a fraud against her. Under no stretch of the

 imagination can the bank fraud statute be construed as applying to

 the facts set forth in plaintiff’s complaint.”) (emphasis in

 original) (report and recommendation adopted by district court).

              In general, a criminal statute does not give rise to a

 private cause of action and cannot be a basis for a private civil

 action. Walker v. Hastings, Civil No. 09-CV-074-ART, 2009 WL

 2914402, at *4 (E.D. Ky. Sept. 4, 2009). There is no private right

 of action under 18 U.S.C. § 1344. Id. at *2; Milgrom v. Burstein,

 374 F. Supp. 2d 523, 528-29 (E.D. Ky. 2005).

             The Court GRANTS Defendants’ motion to dismiss any claim

 under 18 U.S.C. § 1344.

             Defendants next argue that Plaintiff’s fraud claims do

 not comply with Fed. R. Civ. P. 9(b), which requires that, “[i]n

 alleging fraud or mistake, a party must state with particularity

 the circumstances constituting fraud or mistake.” (D.E. 8-1 at 7-

 9.) It is unclear whether Plaintiff’s fraud claims arise under

 Tennessee law or a federal statute. The complaint refers to

 “contractual    mortgage    fraud”   (D.E.   1-1   at   3)   and   asserts   a

 “defense” for “fraud in the factum that breaches the commercial

 mortgage contract and the debt obligation of the obligor” (id. at

 4).




                                      15
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 16 of 32   PageID 228



             Under Tennessee law, the elements of common-law fraud are

       “(1) an intentional misrepresentation of a material fact,
       (2) knowledge of the representation’s falsity, (3) an
       injury    caused   by   reasonable   reliance    on   the
       representation, and (4) the requirement that the
       misrepresentation involve a past or existing fact.”

 Saltire Indus., Inc. v. Waller, Lansden, Dortch & Davis, PLLC, 491

 F.3d 522, 526 (6th Cir. 2007) (quoting Kincaid v. SouthTrust Bank,

 221 S.W.3d 32, 40 (Tenn. Ct. App. 2006)).

            As a general rule, a party may be found to be liable
       for damages caused by his failure to disclose material
       facts to the same extent that a party may be liable for
       damages    caused    by    fraudulent     or    negligent
       misrepresentation. . . . A person who fails to disclose
       to another a fact that he knows may justifiably induce
       the other to act or refrain from acting in a business
       transaction is subject to the same liability to the other
       as though he had represented the nonexistence of the
       matter that he has failed to disclose. However to find
       such liability, there must also be a showing that the
       person accused of the concealment had a duty to the other
       to disclose the matter in question.

 Homestead Group, LLC v. Bank of Tenn., 307 S.W.3d 746, 751 (Tenn.

 Ct. App. 2009), perm. app. denied (Tenn. 2009); accord Saltire

 Indus., Inc., 491 F.3d at 526 (elements of a fraud claim based on

 the intentional failure to disclose a material fact).

            Generally, to find fraud by concealment or
       suppression of the truth there must be something more
       than mere silence, or a mere failure to disclose known
       facts. This Court has described the nature of fraudulent
       concealment as [sic] “[c]oncealment in this sense may
       consist in withholding information asked for, or in
       making use of some device to mislead, thus involving act
       and intention. The term generally infers that the person
       is in some way called upon to make a disclosure. It may
       be said, therefore, that, in addition to a failure to
       disclose known facts, there must be some trick or
       contrivance intended to exclude suspicion and prevent
       inquiry, or else that there must be a legal or equitable
       duty resting on the party knowing such facts to disclose


                                      16
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 17 of 32   PageID 229



       them.” Anderson v. Warren, W2000-02649-COA-R3-CV, 2001 WL
       1683810 at *3 (Tenn. Ct. App. Dec. 12, 2001).

 Homestead Group, LLC, 307 S.W.3d at 752.

              The complaint also refers to fraud in the factum, which

 is a defense to enforcement of a contract by a holder in due

 course.

       The common illustration is that of the maker who is
       tricked into signing a note in the belief that it is
       merely a receipt or some other document. The theory of
       the defense is that his signature on the instrument is
       ineffective because he did not intend to sign such an
       instrument at all. Under this provision the defense
       extends to an instrument signed with knowledge that it is
       a negotiable instrument, but without knowledge of its
       essential terms.

            The test of the defense here stated is that of
       excusable ignorance of the contents of the writing
       signed. The party must not only have been in ignorance,
       but must also have had no reasonable oportunity [sic] to
       obtain knowledge. In determining what is a reasonable
       opportunity all relevant factors are to be taken into
       account, including the age and sex of the party, his
       intelligence, education and business experience; his
       ability to read or to understand English, the
       representations made to him and his reason to rely on
       them or to have confidence in the person making them; the
       presence or absence of any third person who might read or
       explain the instrument to him, or any other possibility
       of obtaining independent information; and the apparent
       necessity, or lack of it, for acting without delay.

            Unless the misrepresentation meets this test, the
       defense is cut off by a holder in due course.

 First State Bank v. Tate, 1988 WL 77625, at *5 (Tenn. Ct. App. July

 28, 1988).

              To   comply   with   Rule   9(b),   a   complaint   alleging   a

 fraudulent representation “must ‘(1) specify the statements that

 the plaintiff contends were fraudulent, (2) identify the speaker,

 (3) state where and when the statements were made, and (4) explain

                                      17
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 18 of 32     PageID 230



 why the statements were fraudulent.’” Frank v. Dana Corp., 547 F.3d

 564, 570 (6th Cir. 2008) (quoting Gupta v. Terra Nitrogen Corp., 10

 F. Supp. 2d 879, 883 (N.D. Ohio 1998)). A plaintiff must, “[a]t a

 minimum,”     “allege    the    time,        place    and   contents   of    the

 misrepresentations upon which [he] relied.” Id. (citing Bender v.

 Southland Corp., 749 F.2d 1205, 1216 (6th Cir. 1984)). “Generalized

 and   conclusory    allegations     that      the    Defendants’   conduct   was

 fraudulent do not satisfy Rule 9(b).” Bovee v. Coopers & Lybrand

 C.P.A., 272 F.3d 356, 361 (6th Cir. 2001). A plaintiff who asserts

 a claim based on a failure to disclose must plead all the elements

 with particularity. 5A Charles Alan Wright & Arthur R. Miller,

 Federal Practice and Procedure § 1297, at 72-73, 101 (3d ed. 2004).

             Plaintiff’s complaint does not satisfy these standards.

 The basis for Plaintiff’s fraud claim is difficult to discern. The

 complaint does not identify any false statement made by any

 Defendant, nor does it allege the other elements of a fraud claim.

 Plaintiff may be contending that Defendant WSB committed fraud by

 failing to disclose that a thirty-year mortgage was illegal.6 Any

 representation, explicit or implicit, about the legal validity of

 thirty-year mortgages would be a legal opinion that cannot form the

 basis for a fraud claim. See Helton v. Viers, No. E2003, 00132-COA-

 R3-CV, 2003 WL 22462537, at *4 (Tenn. Ct. App. Oct. 20, 2003).

             The complaint does not allege that WSB owed Plaintiff a

 duty to disclose and does not allege that WSB knew that the

       6
             Any such claim could not be asserted against Defendants Wachovia and
 Reeder. The complaint makes clear that they were not parties to the original
 mortgage.

                                         18
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 19 of 32     PageID 231



 mortgage    it   offered   Plaintiff    was   unlawful.    That   thirty-year

 mortgage loans are common, see supra p. 12, tends to suggest that

 WSB would not have known or believed they were unlawful. Moreover,

       [o]ne party to a transaction usually has no duty to
       disclose material facts to the other. Wright v. C & S
       Family Credit, Inc., No. 01A01-9709-CH-00470, 1998 WL
       195954 at *2 (Tenn. Ct. App. Apr. 24, 1998). However,
       Tennessee courts have identified three exceptions to this
       general rule and have held that a duty to disclose
       exists: where there is a previous definite fiduciary
       relationship between the parties; where it appears one or
       each of the parties to the contract expressly reposes a
       trust and confidence in the other; or where the contract
       or transaction is intrinsically fiduciary and calls for
       perfect good faith such as a contract of insurance which
       is an example of this last class. . . . Moreover, the
       courts have extended the duty of disclosure of material
       facts to real estate transactions under certain
       circumstances.

 Homestead Group, LLC, 307 S.W.3d at 751-52 (additional citation

 omitted); see also Burkhart v. Wells Fargo Bank West, N.A., No.

 E2006-01402-COA-R3-CV, 2007 WL 1836850, at *4 (Tenn. Ct. App. June

 27, 2007) (same); Wright v. C&C Family Credit, No. 01A01-9709-CH-

 00470, 1998 WL 195954, at *2 (Tenn. Ct. App. Apr. 24, 1998)

 (same).7 “Under Tennessee law, the debtor/creditor relationship

 does not constitute a fiduciary relationship.” Wright, 1998 WL
 195954, at *3; see also Rogers v. First Nat’l Bank, No. M2004-

 02414-COA-R3-CV, 2006 WL 344759, at *9-*10 (Tenn. Ct. App. Feb. 14,

 2006) (discussing the circumstances under which a bank might be a

 fiduciary). “In order for a duty of disclosure to arise under this



       7
             A duty to disclose in a real estate transaction arises where the
 seller is aware of material facts affecting the value of the property that are
 not reasonably known by, or discoverable by, the buyer. Burkhart, 2007 WL
 1836850, at *4. This case does not arise from a sale of real property. Plaintiff
 was refinancing real property he already owned.

                                        19
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 20 of 32      PageID 232



 exception [in which one party reposes trust and confidence in the

 other], the evidence must show that the lending institution either

 knew or had reason to know that the customer was placing his trust

 and confidence in the lender and was relying upon the lender to

 counsel and inform him.” Wright, 1998 WL 195954, at *3.

               The complaint also does not allege fraud in the factum

 adequately. There is no allegation that Plaintiff was not given the

 opportunity to read the mortgage documents before he signed them or

 that the mortgage documents contained any terms that are not common

 in   transactions     of    this   nature.   The     documents   submitted      by

 Plaintiff contain his initials at the bottom of each page. (See

 D.E. 1-1 at 15-39.) “A party is presumed to know the contents of a

 contract he has signed. . . . The law imparts a duty on parties to

 a contract to learn the contents and stipulations of a contract

 before signing it, and signing it without learning such information

 is at the party’s own peril.” Philpot v. Tennessee Health Mgmt.,

 Inc., 279 S.W.3d 573, 581 (Tenn. Ct. App. 2007), perm. app. denied

 (Tenn. 2009) (citations omitted).

               For all of the foregoing reasons, the Court GRANTS

 Defendants’ motion to dismiss Plaintiff’s fraud claims.

               The complaint also relies on the Racketeer Influenced and

 Corrupt Organizations Act (“RICO”), 18 U.S. C. §§ 1961 et seq.

 (D.E.   1-1    at   6.)    The   complaint   cites    18   U.S.C.   §   1961,   a

 definitional provision, and 18 U.S.C. § 1962(a) & (b), which

 provide in pertinent part as follows:



                                        20
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 21 of 32   PageID 233



            (a) It shall be unlawful for any person who has
       received any income derived, directly or indirectly, from
       a pattern of racketeering activity or through collection
       of an unlawful debt in which such person has participated
       as a principal within the meaning of section 2, title 18,
       United States Code, to use or invest, directly or
       indirectly, any part of such income, or the proceeds of
       such income, in acquisition of any interest in, or the
       establishment or operation of, any enterprise which is
       engaged in, or the activities of which affect, interstate
       or foreign commerce. . . .

            (b)   It shall be unlawful for any person through a
       pattern of racketeering activity or through collection of
       an unlawful debt to acquire or maintain, directly or
       indirectly, any interest in or control of any enterprise
       which is engaged in, or the activities of which affect,
       interstate or foreign commerce.

 Rule 9(b) applies to RICO claims. Brown v. Cassens Transp. Co., 546

 F.3d 347, 356 n.4 (6th Cir. 2008); Blount Fin. Servs., Inc. v.

 Walter E. Heller & Co., 819 F.2d 151, 152-53 (6th Cir. 1987). “The

 Plaintiff[] must plead more than a generalized grievance against a

 collective group of Defendants in order to meet the requirements of

 FRCP 9(b).” Masterson v. Meade Cnty. Fiscal Court, 489 F. Supp. 2d

 740, 749 (W.D. Ky. 2007) (citing United States ex rel. Bledsoe v.

 Community Health Sys., Inc., 342 F.3d 634, 643 (6th Cir. 2003)).

             The   complaint     does    not   contain    even   conclusory

 allegations of a RICO violation. An “unlawful debt” is defined as

       a debt (A) incurred or contracted in a gambling activity
       which was in violation of the law of the United States,
       a State or political subdivision thereof, or which is
       unenforceable under State or Federal law in whole or in
       part as to principal or interest because of the laws
       relating to usury, and (B) which was incurred in
       connection with the business of gambling in violation of
       the law of the United States, a State or political
       subdivision thereof, or the business of lending money or
       a thing of value at a rate usurious under State or
       Federal law, where the usurious rate is at least twice
       the enforceable rate.

                                        21
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 22 of 32         PageID 234



 18 U.S.C. § 1961(6). The complaint does not even allege that

 Plaintiff made payments on his mortgages to Defendants WSB or

 Wachovia.    Even    assuming    that     the     thirty-year       mortgages   were

 unlawful and that the receipt by Defendants WSB and Wachovia of

 mortgage    payments,     or    the   foreclosure         action,    qualified    as

 collection of an unlawful debt, the complaint does not allege that

 Defendants used the moneys received “in acquisition of any interest

 in, or the establishment or operation of, any enterprise which is

 engaged in, or the activities of which affect, interstate or
 foreign commerce,” as required for liability under § 1961(a) and

 (b).

             The plaintiff must “allege[] . . . a criminal enterprise

 separate and distinct from the alleged pattern of racketeering

 activity. This is a distinct and necessary element of a RICO

 claim.” American Nursing Care, Inc. v. Leisure, 609 F. Supp. 419,

 430 (N.D. Ohio 1984). The RICO “person” must be distinct from the

 “enterprise.” Cedric Kushner Promotions, Ltd. v. King, 533 U.S.

 158, 161 (2001) (interpreting § 1962(c)); see also Begala v. PNC
 Bank, 214 F.3d 776, 781 (6th Cir. 2000) (“Under RICO, a corporation

 cannot be both the ‘enterprise’ and the ‘person’ conducting or

 participating       in   the    affairs      of    that    enterprise.”).       “The

 ‘enterprise’ referred to in subsections (a) and (b) is thus

 something acquired through the use of illegal activities or by

 money obtained through illegal activities. The enterprise in these

 subsections is the victim of unlawful activity.” National Org. for

 Women, Inc. v. Scheidler, 510 U.S. 249, 259 (1994). Plaintiff’s

                                         22
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 23 of 32    PageID 235



 complaint does not allege the existence of a RICO enterprise. At

 most, it alleges that Defendants engaged in the collection of an

 illegal debt.

              The   complaint   also   does   not    allege    that   Plaintiff

 suffered any injury. Under 18 U.S.C. § 1964(c), “[a]ny person

 injured in his business or property by reason of a violation of

 section 1962 of this chapter may sue therefor.” “[T]o state a claim

 under § 1962(a), a plaintiff must plead a specific injury to the

 plaintiff caused by the investment of income into the racketeering
 enterprise, distinct from any injuries caused by the predicate acts

 of racketeering.” Vemco, Inc. v. Camardella, 23 F.3d 129, 132 (6th

 Cir. 1994) (emphasis in original). The injury must stem from the

 investment, rather than from the predicate acts. Id. at 132-33; see

 also Masterson, 489 F. Supp. 2d at 750 (same); Lucas-Cooper v.

 Palmetto GBA, No. 1:05-cv-00959, 2006 WL 2583407, at *8 (N.D. Ohio

 Sept. 7, 2006) (same); James v. McCoy, 56 F. Supp. 2d 919, 938

 (S.D. Ohio 1998) (same). In this case, Plaintiff’s alleged injury

 stems    from   the   predicate   acts,    rather   than     the   investment.

 Therefore, the complaint fails to state a claim under § 1962(a).

              The complaint also does not state a claim under §

 1962(b).

              “A violation of § 1962(b) requires that the RICO
         defendant acquire or maintain an interest in, or control
         of, an enterprise through (or by way of) the pattern of
         racketeering activity.” Advocacy Organization for
         Patients and Providers v. Auto Club Ins. Ass’n, 176 F.3d
         315, 328 (6th Cir. 1999). “[A] complaint for violation of
         § 1962(b) must allege an ‘acquisition or maintenance’
         injury separate and apart from the injury suffered as a
         result of the predicate acts of racketeering activity.”

                                       23
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 24 of 32   PageID 236



       Id. at 329. For a plaintiff to state a claim under
       Section 1962(b), a plaintiff must plead facts that
       establish that the Defendants: (1) acquired or maintained
       (2) through a pattern of racketeering activity or the
       collection of an unlawful debt; (3) an interest in or
       control of an enterprise; and (4) engaged in, or the
       activities of which affect, interstate or foreign
       commerce. Id. at 321.

            To successfully allege a claim under Section
       1962(b), “‘a RICO plaintiff must demonstrate that the
       defendant’s acquisition or control of an interstate
       enterprise injured [the] plaintiff. In other words,
       injury from the racketeering acts themselves is not
       sufficient; rather, a plaintiff must plead facts tending
       to show that the acquisition or control of an interest
       injured [the] plaintiff.’” Id. at 330.

 Masterson, 489 F. Supp. 2d at 750. As previously stated, any injury

 suffered by Plaintiff was the result of the predicate acts, not

 from Defendants’ acquisition or maintenance of control of the

 enterprise.

             For all of the foregoing reasons, the Court GRANTS

 Defendants’ motion to dismiss the RICO claims.

             Next, Defendants argue that the complaint does not state

 a claim under Tenn. Code Ann. § 47-3-305, which is Tennessee’s

 version of § 3-305 of the Uniform Commercial Code (“UCC”). (D.E. 8-

 1 at 10-11.) Section 47-3-305 provides as follows:

            (a) Except as stated in subsection (b), the right to
       enforce the obligation of a party to pay an instrument is
       subject to the following:

                  (1) a defense of the obligor based on (i)
             infancy of the obligor to the extent it is a
             defense to a simple contract, (ii) duress, lack of
             legal capacity, or illegality of the transaction
             which, under other law, nullifies the obligation of
             the obligor, (iii) fraud that induced the obligor
             to sign the instrument with neither knowledge nor
             reasonable opportunity to learn of its character or


                                      24
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 25 of 32   PageID 237



             its essential terms, or (iv) discharge            of     the
             obligor in insolvency proceedings;

                  (2) a defense of the obligor stated in another
             section of this chapter or a defense of the obligor
             that would be available if the person entitled to
             enforce the instrument were enforcing a right to
             payment under a simple contract; and

                  (3) a claim in recoupment of the obligor
             against the original payee of the instrument if the
             claim arose from the transaction that gave rise to
             the instrument; but the claim of the obligor may be
             asserted against a transferee of the instrument
             only to reduce the amount owing on the instrument
             at the time the action is brought.
            (b) The right of a holder in due course to enforce
       the obligation of a party to pay the instrument is
       subject to defenses of the obligor stated in subsection
       (a)(1), but is not subject to defenses of the obligor
       stated in subsection (a)(2) or claims in recoupment
       stated in subsection (a)(3) against a person other than
       the holder.

            (c) Except as stated in subsection (d), in an action
       to enforce the obligation of a party to pay the
       instrument, the obligor may not assert against the person
       entitled to enforce the instrument a defense, claim in
       recoupment, or claim to the instrument (§ 47-3-306) of
       another person, but the other person’s claim to the
       instrument may be asserted by the obligor if the other
       person is joined in the action and personally asserts the
       claim against the person entitled to enforce the
       instrument. An obligor is not obliged to pay the
       instrument if the person seeking enforcement of the
       instrument does not have rights of a holder in due course
       and the obligor proves that the instrument is a lost or
       stolen instrument.

            (d) In an action to enforce the obligation of an
       accommodation   party   to   pay   an   instrument,   the
       accommodation party may assert against the person
       entitled to enforce the instrument any defense or claim
       in recoupment under subsection (a) that the accommodated
       party could assert against the person entitled to enforce
       the instrument, except the defenses of discharge in
       insolvency proceedings, infancy, and lack of legal
       capacity.



                                      25
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 26 of 32   PageID 238



             Even assuming there were an independent right of action

 under § 47-4-305, the complaint does not identify the provision

 that was allegedly violated and contains no factual allegations to

 support the claim. The Court has held that the complaint does not

 adequately allege illegality or fraud in the inducement.

             The Court GRANTS Defendants’ motion to dismiss the claim

 under UCC § 3-305 and Tenn. Code Ann. § 47-3-305.

             Defendants next argue that the complaint does not state

 a valid claim under the Tennessee Consumer Protection Act (“TCPA”),
 Tenn. Code Ann. § 47-18-104(b)(12), which prohibits persons from

 “[r]epresenting that a consumer transaction involves or confers

 rights, remedies or obligations that it does not have or involve or

 which are prohibited by law.”

             Under    the   TCPA,    “[a]ny    person    who    suffers    an

 ascertainable loss of money or property, real, personal, or mixed,

 or any other article, commodity, or thing of value wherever

 situated, as a result of the use or employment by another person of

 an unfair or deceptive act or practice declared to be unlawful by

 this part, may bring an action individually to recover actual

 damages.” Tenn. Code Ann. § 47-18-109(a)(1).

            To establish a prima facie case of violation of the
       TCPA, plaintiffs must prove: (1) defendant engaged in an
       act or practice that is unfair or deceptive as defined
       under the TCPA; and (2) plaintiffs suffered a loss of
       money, property, or a thing of value as a result of the
       unfair or deceptive act of defendant. Tenn. Code Ann. §
       47-18-109 (2006). Defendant correctly notes that
       Tennessee courts apply the particularity requirement of
       Rule 9.02 [of the Tennessee Rules of Civil Procedure] to
       claims brought under the TCPA. Harvey v. Ford Motor Co.,
       8 S.W.3d 373, 375 (Tenn. Ct. App. 1999). To satisfy that

                                      26
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 27 of 32    PageID 239



       requirement, a complaint challenging violation of the
       TCPA must charge “misrepresentation, deceit, and
       concealment, and minimally [set] forth the facts.”
       Sullivant v. Americana Homes, Inc.

 Scraggs v. La Petite Academy, Inc., No. 3:05-CV-539, 2006 WL
 2711689, at *4 (E.D. Tenn. Sept. 21, 2006); see also McLean v.

 Bourget’s Bike Works, Inc., No. M2003-01944-COA-R3-CV, 2005 WL

 2493479, at *7 (Tenn. Ct. App. Oct. 7, 2005) (“Claims under the

 Tennessee    Consumer   Protection    must   be   pleaded   with     the   same

 particularity that Tenn. R. Civ. P. 9.02 requires of common-law

 fraud claims.”); Harvey v. Ford Motor Credit Co., 8 S.W.3d 273, 275

 (Tenn. Ct. App. 1999). Just as the complaint does not adequately

 plead a common-law fraud claim, see supra pp. 15-20, it does not

 allege a violation of the TCPA.

             Defendants also argue that the TCPA does not encompass

 Plaintiff’s contention that thirty-year mortgages are unlawful.

 (D.E. 8 at 12.) The TCPA is inapplicable to “[a]cts or transactions

 required or specifically authorized under the laws administered by,

 or rules and regulations promulgated by, any regulatory bodies or

 officers acting under the authority of this state or of the United

 States.” Tenn. Code Ann. § 47-18-111(a). Defendants reason that,

 because national banks are permitted to “make, arrange, purchase or

 sell loans or extensions of credit secured by liens on interests in

 real estate,” and because thirty-year mortgage loans are common,

 see supra pp. 11-12, such loans must fall within the exemption set

 forth in § 47-18-111(a). This argument is not persuasive.




                                      27
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 28 of 32                  PageID 240



              Under Tenn. Code Ann. § 47-18-111(b), “[t]he burden of

 proving an exemption from the provisions of this part, as provided

 in this section, shall be upon the person claiming the exemption.

 Twelve U.S.C. § 371, the provision on which Defendants rely,

 applies to national banking associations, and no proof has been

 offered that any defendant is a national banking association.

 Moreover,    the     fact    that    thirty-year              mortgage     loans   are    not

 prohibited      by   the    National     Bank      Act    does       not   mean    that   any

 particular mortgage terms are “required or specifically authorized”
 by it.

              Because       the   complaint        does    not     adequately       allege   a

 violation of the TCPA, the Court GRANTS Defendants’ motion to

 dismiss that claim.

              Defendants also argue that Plaintiff’s breach of contract

 allegations based on the deeds of trust fail to state a claim.

 (D.E. 8 at 12-14.) As previously noted, see supra p. 4, the

 complaint alleges that Defendants breached the deeds of trust by

 giving Plaintiff non-conformed copies of them. In reviewing a

 motion pursuant to Fed. R. Civ. P. 12(b)(6), a district court may

 consider the exhibits to the complaint if they are referred to in

 the complaint and are central to the claims contained in it. See,

 e.g., Scott v. Ambani, 577 F.3d 642 , 650 (6th Cir. 2009); Amini v.

 Oberlin College, 259 F.3d 493, 502 (6th Cir. 2001); see also Fed.

 R. Civ. P. 10(c) (“A copy of a written instrument that is an

 exhibit    to    a   pleading       is   a   part        of    the    pleading     for    all

 purposes.”). If an averment of the complaint is contradicted by an

                                              28
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 29 of 32    PageID 241



 exhibit that is central to the plaintiff’s claim, the exhibit will

 be controlling. Mengel Co. v. Nashville Paper Prods. & Specialty

 Workers Union, 221 F.2d 644, 647 (6th Cir. 1955) (“The collective

 bargaining contract was filed as an exhibit with the complaint,

 became a part of the complaint, and will be considered on the

 motion to dismiss. . . . If inconsistent with the allegations of

 the complaint, the exhibit controls.”).

             Under the terms of the Deed of Trust attached as Exhibit

 A to the Complaint, Plaintiff “acknowledge[d] the receipt of one

 conformed copy of the Secured Notes and this Security Instrument.”

 (Compl., Ex. 1, ¶ 16 (D.E. 1-1 at 22).)8 Plaintiff’s specific

 acknowledgment that he received those documents defeats the vague

 and conclusory assertions of the form complaint that he did not.

             As for the Open End Deed of Trust, which is attached as

 Exhibit B to the Complaint, the complaint does not allege that

 Plaintiff complied with all conditions precedent to suit. Pursuant

 to Fed. R. Civ. P. 9(c), “[i]n pleading conditions precedent, it

 suffices to allege generally that all conditions precedent have

 occurred or been performed.”

             Paragraph 12 of the Open End Deed of Trust provides, in

 pertinent part, as follows:

            Neither Borrower nor Lender may commence, join, or
       be joined in any judicial action (as either an individual
       litigant or the member of a class) that arises from the
       other party’s actions pursuant to this Security
       Instrument or that alleges that the other party has
       breached any provision of, or any duty owed by reason of,

       8
             This Deed of Trust evidences the first mortgage on Plaintiff’s real
 property.

                                       29
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 30 of 32      PageID 242



        this Security Instrument, until such Borrower or Lender
        has notified the other party (with such notice given in
        compliance with this Section 12) of such alleged breach
        and afforded the other party hereto a reasonable period
        after the giving of such notice to take corrective
        action. If applicable law provides a time period which
        must elapse before certain action can be taken, that time
        period will be deemed to be reasonable.

 (D.E. 1-1 at 37 (emphasis added).) In this case, the Complaint does

 not    allege   that   all     conditions    precedent    to   suit   have   been

 satisfied.

              Therefore, the Court GRANTS Defendants’ motion to dismiss

 Plaintiff’s breach of contract claims.

              Ordinarily, a first dismissal under Rule 12(b)(6) is

 without prejudice to a plaintiff’s right to file an amended

 complaint that cures the identified deficiencies. In this case,

 however, Plaintiff has not responded to the motion to dismiss and,

 therefore, he appears to have abandoned this action. Therefore, the

 complaint against Defendants WSB, Wachovia, and Reeder is DISMISSED

 WITH PREJUDICE.

              As previously noted, see supra p. 1 n.1, Defendants

 Johnson and Palo have not been served. In its December 10, 2010

 order, the Court directed Plaintiff to show cause why the complaint

 against them should not be dismissed without prejudice pursuant to

 Fed. R. Civ. P. 4(m) and 41(b). Plaintiff has not responded to the

 show   cause    order,   and    the   time   for   a   response   has   expired.

 Therefore, the Court DISMISSES the complaint against Defendants

 Johnson and Palo without prejudice pursuant to Fed. R. Civ. P. 4(m)

 and 41(b).


                                         30
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 31 of 32   PageID 243



             Because   all   claims    against   all   parties   have    been

 dismissed, judgment shall be entered for Defendants.

             The Court must also consider whether Plaintiff should be

 allowed to appeal this decision in forma pauperis, should he seek

 to do so. The United States Court of Appeals for the Sixth Circuit

 requires that all district courts in the circuit determine, in all

 cases where the appellant seeks to proceed in forma pauperis,

 whether the appeal would be frivolous. Floyd v. United States

 Postal Serv., 105 F.3d 274, 277 (6th Cir. 1997). Twenty-eight

 U.S.C. § 1915(a)(3) provides that “[a]n appeal may not be taken in

 forma pauperis if the trial court certifies in writing that it is

 not taken in good faith.”

             Pursuant to the Federal Rules of Appellate Procedure, a

 non-prisoner desiring to proceed on appeal in forma pauperis must

 obtain pauper status under Fed. R. App. P. 24(a). See Callihan v.

 Schneider, 178 F.3d 800, 803-04 (6th Cir. 1999). Rule 24(a)

 provides that if a party seeks pauper status on appeal, he must

 first file a motion in the district court, along with a supporting

 affidavit. Fed. R. App. P. 24(a)(1). However, Rule 24(a) also

 provides that if the district court certifies that an appeal would

 not be taken in good faith, or otherwise denies leave to appeal in

 forma pauperis, the litigant must file his motion to proceed in

 forma pauperis in the Court of Appeals. Fed. R. App. P. 24(a)(4)-

 (5).

             The good faith standard is an objective one. Coppedge v.
 United States, 369 U.S. 438, 445 (1962). The test under 28 U.S.C.

                                      31
Case 2:10-cv-02482-SHM-cgc Document 17 Filed 03/21/11 Page 32 of 32   PageID 244



 § 1915(a) for whether an appeal is taken in good faith is whether

 the litigant seeks appellate review of any non-frivolous issue.

 Id. at 445-46. The same considerations that lead the Court to grant

 Defendants’ motion for summary judgment also compel the conclusion

 that an appeal would not be taken in good faith. It is therefore

 CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal in

 this matter by Plaintiff would not be taken in good faith and

 Plaintiff may not proceed on appeal in forma pauperis. Leave to

 proceed on appeal in forma pauperis is, therefore, DENIED. If

 Plaintiff files a notice of appeal, he must also pay the full $455

 appellate filing fee or file a motion to proceed in forma pauperis

 and supporting affidavit in the United States Court of Appeals for

 the Sixth Circuit within thirty (30) days.

             IT IS SO ORDERED this 21st day of March, 2011.



                                            s/Samuel H. Mays, Jr.
                                           SAMUEL H. MAYS, JR.
                                           UNITED STATES DISTRICT JUDGE




                                      32
